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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                              CASE NO. 1:18-CV-25106-KMW

   UNITED AMERICAN CORP.,

               Plaintiff,

         v.

   BITMAIN INC., SAINT BITTS LLC d/b/a
   BITCOIN.COM, ROGER VER, BITMAIN
   TECHNOLOGIES LTD., BITMAIN
   TECHNOLOGIES HOLDING COMPANY,
   JIHAN WU, PAYWARD VENTURES, INC.
   d/b/a KRAKEN, JESSE POWELL,
   AMAURY SECHET, SHAMMAH
   CHANCELLOR, and JASON COX,

               Defendants.



          DEFENDANT BITMAIN TECHNOLOGIES HOLDING COMPANY’S
                   MOTION TO DISMISS THE COMPLAINT
                  UNDER FED. R. CIV. P. 12(b)(2) AND 12(b)(6)
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          Defendant Bitmain Technologies Holding Company (“BTH”) moves to dismiss the

   Complaint with prejudice under Fed. R. Civ. P. 12(b)(2) and notifies the Court that it is adopting

   and joining in full the motion made by Bitmain Inc. (“Bitmain US”) under Fed. R. Civ. P. 12(b)(6),

   ECF No. 42, as well as the motions to dismiss filed under Fed. R. Civ. P. 12(b)(6) by the other

   Defendants, to the extent their arguments are not Defendant-specific, ECF Nos. 41, 43, 56, 98 (all

   motions except ECF No. 98 were renewed by joint notice, ECF No. 97).

                                           BACKGROUND

          A.      Procedural Background.

          On December 6, 2018, Plaintiff United American Corp. (“UAC”) filed its Complaint

   against BTH and the other Defendants. ECF No. 1. On February 1, 2019, the four Defendants

   who had been served by then—Bitmain US, Shammah Chancellor, Payward Ventures, and Jesse

   Powell—moved to dismiss under Rule 12(b)(6). Motions to Dismiss, ECF Nos. 41, 42, 43.

   Initially, the Court gave UAC until March 6, 2019, to serve all remaining Defendants. See January

   18, 2019 Order Regarding Service, ECF No. 37. On March 6, UAC moved for an enlargement of

   time to serve Defendant Jason Cox and provided a status report on the other six Defendants, all of

   whom are based internationally. UAC’s Mot. for Enlargement of Time to Serve Foreign Defs.,

   ECF No. 47.1 The Court extended UAC’s service deadline to October 8, 2019. See April 10, 2019

   Order, ECF No. 59.

          On July 23, 2019, the Court temporarily terminated the pending motions to dismiss “[t]o

   promote the efficient resolution of th[e] matter,” and ruled that the motions to dismiss could be

   renewed “[n]o later than ten days after either completion of service on all Defendants, or the



          1
             UAC served Defendant Jason Cox on March 20, 2019, ECF No. 55, and he joined the motion to
   dismiss filed by Defendant Shammah Chancellor on April 2, 2019. See Cox’s Notice of Adoption of and
   Joinder in Chancellor’s Pending Motion to Dismiss, ECF No. 56.
                                                   1
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   October 8, 2019, deadline to complete that service.” Status Conference Order, ECF No. 78. The

   Status Conference Order also relieved all Defendants of their obligation to respond to the

   Complaint until that time. Id. On October 4, 2019, UAC moved for entry of a clerk’s default

   based on the argument that BTH had failed to timely respond to the Complaint. ECF No. 92. The

   clerk entered default on October 7, 2019 [ECF No. 95], and on October 8, 2019, BTH moved to

   set aside the clerk’s default. ECF No. 96.

          B.      Other Defendants’ Renewal of Motions to Dismiss and BTH Joinder in
                  Motions.

          On October 9, 2019, Defendants Bitmain US, Chancellor, Cox, Powell, and Payward

   Ventures filed a Joint Notice of Renewal of Motions to Dismiss. ECF No. 97.2 By this motion,

   BTH adopts and joins in the motion to dismiss under Fed. R. Civ. P. 12(b)(6) filed by Bitmain US

   in full. BTH also adopts and joins in the motions to dismiss filed by the other Defendants as to

   those arguments that are not Defendant-specific. Finally, BTH moves to be dismissed from this

   case for lack of personal jurisdiction under Fed. R. Civ. P. 12(b)(2).3

          C.      Jurisdictional Background.

          The Complaint contains no specific allegations as to why the Court has personal

   jurisdiction over BTH.      It alleges simply that “[t]his Court has personal jurisdiction over

   Defendants because Defendants have engaged in business in the State of Florida and have

   purposefully availed themselves of the benefits and privileges of conducting business in this

   jurisdiction.” Compl. ¶ 20. But BTH does not do business in Florida or the United States and is


          2
           UAC served Defendant Roger Ver, and he joined the motion to dismiss filed by Defendant
   Shammah Chancellor on October 9, 2019. See Ver’s Notice of Adoption of and Joinder in Chancellor’s
   Pending Motion to Dismiss, ECF No. 98.
          3
            This motion is timely. As of October 8, 2019, UAC had not served all Defendants, so under the
   Status Conference Order, BTH has until October 18, 2019 to respond to the Complaint. Status Conference
   Order, ECF No. 78.
                                                     2
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   not authorized to do business in any state within the United States. Decl. of Luyao Liu (“Liu

   Declaration”), attached hereto as Exhibit A, at ¶¶ 6-7. It is organized under the laws of the

   Cayman Islands and is headquartered in the People’s Republic of China. Id. at ¶ 2. It has never

   had any employees, offices, or property in Florida or the United States. Id. at ¶ 8. It is the parent

   company of separate, legally distinct entities that observe corporate formalities and maintain

   separate books and records. Id. at ¶¶ 3-4. BTH does not control the day-to-day operations of these

   other entities. Id. at ¶ 5.

                                         LEGAL STANDARD

           A plaintiff has the burden of demonstrating personal jurisdiction over any person or entity

   that it seeks to sue. Leon v. Continental AG, 301 F. Supp. 3d 1203, 1214 (S.D. Fla. 2017) (J.

   Williams). Initially, a plaintiff must make a prima facie showing that personal jurisdiction exists

   over a defendant. Id. It is well-established that conclusory jurisdictional allegations are not

   enough to establish a prima facie showing of jurisdiction. Aronson v. Celebrity Cruises, Inc., 30

   F. Supp. 3d 1379, 1385 (S.D. Fla. 2014); Leon, 301 F. Supp. 3d at 1215. If a plaintiff meets its

   initial burden, a defendant may raise “through affidavits, documents or testimony, a meritorious

   challenge to personal jurisdiction.” Internet Sols. Corp. v. Marshall, 557 F.3d 1293, 1295 (11th

   Cir. 2009). If the defendant does so, “the burden shifts to the plaintiff to prove jurisdiction by

   affidavits, testimony or documents.” Id. For purposes of a Rule 12(b)(2) motion, the Court may

   consider information outside the pleadings. See, e.g., Aronson, 30 F. Supp. 3d at 1385.

           As a non-resident of Florida, BTH is subject to personal jurisdiction only if the exercise of

   jurisdiction satisfies both Florida’s long-arm statute and the due process requirements of the United

   States Constitution. Leon, 301 F. Supp. 3d at 1214. Florida’s long-arm statute allows the exercise

   of personal jurisdiction to the same extent permissible under the Constitution, Fraser v. Smith, 594

   F.3d 842, 846 (11th Cir. 2010), and provides for both general and specific personal jurisdiction.
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   Fla. Stat. § 48.193(1)-(2); Unitedhealthcare of Florida, Inc. v. American Renal Assocs. Holdings,

   16-CIV- 81180, 2017 WL 1832436, at *4 (S.D. Fla. May 8, 2017).

           General personal jurisdiction exists over a defendant only in the states where a defendant

   (a) is incorporated, (b) maintains its principal place of business or, (c) in extraordinarily rare cases,

   is “essentially at home” even without a principal place of business. Daimler AG v. Bauman, 571

   U.S. 117, 127 (2014). Specific personal jurisdiction exists if the asserted cause of action arises

   from the defendant’s substantial activity within Florida. Unitedhealthcare, 2017 WL 1832436, at

   *4. UAC has failed to make a prima facie showing that BTH is subject to either general or specific

   personal jurisdiction, and the facts set forth in the Liu Declaration show that BTH does not have

   sufficient minimum contacts with the forum.

                                               ARGUMENT

           A.      The Court Lacks General Personal Jurisdiction Over BTH Because BTH Is a
                   Foreign Corporation That Does Not Conduct Any Activities in Florida.

           The Court lacks general personal jurisdiction over BTH. BTH is not incorporated in the

   United States nor does it maintain its principal place of business in the United States. General

   personal jurisdiction is appropriate over an out-of-state corporation only in extremely limited

   circumstances not found here: “A foreign corporation cannot be subject to general jurisdiction in

   a forum unless the corporation’s activities in the forum closely approximate the activities that

   ordinarily characterize a corporation’s place of incorporation or principal place of business.”

   Carmouche v. Tamborlee Mgmt., Inc., 789 F.3d 1201, 1205 (11th Cir. 2015).                    A foreign

   corporation’s affiliations with Florida must be so “continuous and systematic” as to render the

   corporation essentially at home in Florida. Daimler AG, 571 U.S. at 127. Here, BTH does not

   conduct any activities in Florida, much less those associated with a site of incorporation or



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   principal place of business. So general personal jurisdiction cannot be exercised over BTH

   consistent with the requirements of Florida’s long-arm statute or the United States Constitution.

          Not surprisingly, the Complaint contains no specific allegations to justify the Court

   exercising general personal jurisdiction over BTH. It merely alleges, in conclusory fashion, that

   “[t]his Court has personal jurisdiction over Defendants because Defendants have engaged in

   business in the State of Florida and have purposefully availed themselves of the benefits and

   privileges of conducting business in this jurisdiction.” Compl. ¶ 20, ECF No. 1. The only

   jurisdictionally relevant allegation against BTH is that it is a “corporation registered in the Cayman

   Islands.” Id. at ¶ 11. This does not remotely satisfy UAC’s burden to make a prima facie showing

   to establish general jurisdiction. See Leon, 301 F. Supp. 3d at 1216-17; Enic, PLC v. F.F. South

   & Co., Inc., 870 So.2d 888, 890 (Fla. 5th DCA 2004) (plaintiff “must first allege sufficient facts

   in the complaint in support of long arm jurisdiction”) (quoting John Scott, Inc. and John Scott Int’l,

   Inc. v. Munford, Inc. and Asian Arts, Inc., 670 F. Supp. 344, 345 (S.D. Fla. 1987)).

          Moreover, BTH has shown by declaration that none of the factors courts typically look for

   to exercise general jurisdiction exist here. See Unitedhealthcare, 2017 WL 1832436, at *4 (citing

   Horizon Aggressive Growth L.P. v. Rothstein-Kass, P.A., 421 F.3d 1162, 1167 (11th Cir. 2005)

   (listing factors). For instance, BTH is neither incorporated in Florida nor has its principal place of

   business in Florida. Liu Declaration at ¶ 2. BTH neither transacts business nor is authorized to

   transact business in Florida or any state in the United States. Id. at ¶¶ 6-7. Also, it has never had

   any employees, offices, or property in Florida or the United States. Id. ¶ 8. It is the parent

   company of separate, legally distinct entities that observe corporate formalities and maintain

   separate books and records. Id. at ¶¶ 3-4. And it does not control the day-to-day operations of




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   these other entities. Id. at ¶ 5. Accordingly, no relevant factor supports general jurisdiction in this

   case.

           UAC attempts to collapse BTH, Bitmain US, and Bitmain Technologies Ltd. into one,

   collectively referring to them as “Bitmain” throughout the Complaint. Compl. ¶¶ 52, 53, 61, 65.

   But personal jurisdiction must be established based on “[e]ach defendant’s contacts with the forum

   State,” and those contacts must be assessed individually.” Keeton v. Hustler Magazine, Inc., 465

   U.S. 770, 781 n.13 (1984); see also Consol. Devel. Corp. v. Sherrit, Inc., 216 F.3d 1286, 1293

   (11th Cir. 2000) (rejecting argument that foreign parent could be subject to general jurisdiction

   based on subsidiary’s marketing of products to the forum). All three Bitmain corporate affiliates

   are alleged to be, and in fact are, distinct and separate entities with their own corporate form.

   Compl. ¶¶ 7, 10-11; Liu Declaration at ¶ 4. And BTH is not alleged to have had any contacts with

   Florida, let alone pervasive contacts that “render it essentially at home” in Florida. Daimler AG,

   571 U.S. at 127. Based on the lack of allegations in the Complaint and the facts set forth in the

   Liu Declaration, this Court must find that there is not general jurisdiction over BTH.

           B.      The Court Lacks Specific Personal Jurisdiction Over BTH.

           UAC likewise cannot demonstrate that BTH is subject to specific jurisdiction in Florida.

   For a court to exercise specific jurisdiction, the suit must arise out of or be related to a defendant’s

   contacts with the forum. Bristol-Myers Squibb Co. v. Superior Ct. of Cal., San Francisco Cty.,

   137 S. Ct. 1773, 1780 (2017). There must be “an affiliation between the forum and the underlying

   controversy, principally, [an] activity or an occurrence that takes place in the forum State and is

   therefore subject to the State’s regulation.” Id. (citations omitted). A plaintiff must allege

   sufficient facts to show that a non-resident company “independently satisfies the test for

   jurisdiction under Florida’s long-arm statutes.” Schwartzberg v. Knobloch, 98 So.3d 173, 182

   (Fla. 2d DCA 2012). If a plaintiff makes such a prima facie showing under the long-arm statute,
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   a court must also consider whether “sufficient minimum contacts are demonstrated to satisfy [the]

   due process requirements” under the United States Constitution.            Ernie Passeos, Inc. v.

   O’Halloran, 855 So.2d 106, 108 (Fla. 2d DCA 2003) (citations omitted); Madara v. Hall, 916

   F.2d 1510, 1514 (11th Cir. 1990) (“Only if both prongs of the analysis are satisfied may a federal

   or state court exercise personal jurisdiction over a nonresident defendant.”). Because UAC has

   not alleged sufficient facts to satisfy Florida’s long-arm statute as to BTH and because BTH has

   no contacts with Florida or the United States, the Court lacks personal jurisdiction over BTH.

                  1.      UAC failed to allege sufficient facts to show that the claims arise out
                          of contacts by BTH with Florida under the long-arm statute.

           This Court can exercise specific personal jurisdiction over BTH only if UAC has

   sufficiently alleged that the claims “arise out of or are related to [BTH’s] contacts with Florida”

   and those contacts “fall within one of nine statutorily enumerated categories” listed in Florida’s

   long-arm statute. See Leon, 301 F. Supp. 3d at 1214; Fla. Stat. § 48.193. UAC has not satisfied

   its burden of alleging, much less providing factual support for, any of the provisions of the long-

   arm statute. So the Complaint must be dismissed.

          As an initial matter, UAC fails to invoke any of the nine categories of the long-arm statute

   in its Complaint. For instance, it does not allege facts to show that any cause of action arose out

   of BTH’s “[o]perating, conducting, engaging in, or carrying on a business or business venture” in

   Florida, as required by the first subsection of the long-arm statute. Fla. Stat. § 48.193(1)(a)(1).

   Nor could it because, as discussed above, BTH is not licensed to, and does not, transact business

   in Florida; has never paid taxes to Florida or any other state; does not have employees, offices, or

   property in Florida; and does not have control over day-to-day operations of its subsidiaries. Liu

   Declaration ¶¶ 3-9. So none of the common indicators that a company is “carrying on” a business

   within Florida are present here. EcoMed, LLC v. Asahi Kasei Medical Co., Ltd., No. 17-61360-

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   CIV, 2018 WL 6620313, at *3 (S.D. Fla. Oct. 31, 2018) (listing factors to be considered: an office

   in Florida, a license to do business in Florida, the existence of Florida clients, and the percentage

   of overall revenue gleaned from Florida clients).

           Likewise, UAC has not alleged sufficient facts to show that BTH committed a tortious act

   within Florida, as required by the second subsection of the long-arm statute.                Fla. Stat. §

   48.193(1)(a)(2).4 For starters, there is not even an allegation that any of the challenged conduct

   occurred in Florida, which makes the Complaint deficient on its face. EcoMed, LLC, 2018 WL

   6620313, at *8. Even if the Court were to assume for the sake of argument that the conduct did

   occur in Florida, however, there is not a single allegation of wrongdoing directed at BTH

   specifically. Rather, UAC combines all Bitmain corporate entities into one. It alleges, for instance,

   that “Bitmain” has 67-80% of the market share for ASIC servers and that “Bitmain controls well

   in excess of 60% of the world’s cryptocurrency mining computer (hashing) power.” Compl. ¶¶ 52-

   53. It also asserts that “Bitmain … operates Antpool and BTC.com” and that “Bitmain” colluded

   with other Defendants “to reallocate pools of Bitmain servers from the Bitcoin Core network

   (‘BTC’) to Bitcoin.com’s pools ….” Id. ¶¶ 53, 59. And it claims that “Bitmain organiz[ed]

   deployment (or actually redeployment) of up to 90,000 Bitmain Antminer S9 servers in early

   November” and together with “Bitcoin.com effectively hijacked the blockchain.” Id. ¶¶ 61, 65.

   But these group allegations are insufficient to establish jurisdiction over BTH. UAC must meet

   its burden as to each defendant. See Rush v. Savchuk, 444 U.S. 320, 331-32 (1980) (“aggregating

   [multiple defendants’] forum contacts” was “plainly unconstitutional”).




           4
              UAC has failed to invoke any subsection of the long-arm statute, and no other subsections beside
   the first two are even remotely relevant to the allegations in the Complaint.
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          Moreover, the facts in the Liu Declaration confirm that BTH had no role in the alleged

   activities. It does not manufacture the ASIC miners or operate the Antpool and BTC.com mining

   pools. Liu Declaration ¶¶ 10-11. Nor does it make operational decisions about how to deploy the

   pools of Bitmain miners. Id. at ¶ 12. In the end, UAC has failed to allege, and cannot establish,

   that BTH had any contacts with Florida and therefore cannot show that the claims arise out of

   contacts by BTH with Florida under the long-arm statute. Thus, the Court does not have specific

   personal jurisdiction over BTH, and the claims against BTH must be dismissed.

                  2.      BTH does not have sufficient minimum contacts with the forum to
                          satisfy due process requirements.

          Because UAC has not alleged sufficient facts to satisfy the Florida long-arm statute, the

   Court need not consider due process requirements. Ernie, 855 So.2d at 108 (Fla. Dist. Ct. App.

   2003); EcoMed, LLC, 2018 WL 6620313, at *9. Even if the Court were to consider due process

   requirements, however, it would find that BTH does not have sufficient minimum contacts with

   the forum to satisfy due process. The Eleventh Circuit uses a three-part test to determine whether

   a court can exercise specific jurisdiction over a non-resident defendant consistent with due process

   requirements: (1) the claim must be one which arises out of or relates to the defendant’s forum-

   related activities; (2) the defendant must have purposefully availed itself of the privilege of

   conducting activities within the forum state; and (3) the exercise of jurisdiction must comport with

   fair play and substantial justice. In re Takata Airbag Prods. Liab. Litig., MDL No. 2599, 2019

   WL 2570616, at *28 (S.D. Fla. June 20, 2019) (citing Louis Vuitton Malletier, S.A. v. Mosseri, 736

   F.3d 1339, 1355 (11th Cir. 2013). Plaintiffs bear the burden of proving the first two prongs, and

   if they do, the burden shifts to defendants for the third prong. Id. Here, all three prongs favor

   BTH.



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          First, as discussed above, UAC does not allege any specific acts taken by BTH, much less

   any taken by BTH in Florida. Instead, UAC relies on generalized group allegations against

   “Bitmain” as a whole. This is insufficient. In re Takata Airbag Prods. Liab. Litig., 2019 WL

   2570616, at *28 (collecting cases where conclusory, vague, or generalized allegations were

   insufficient to establish specific jurisdiction). Moreover, BTH’s evidence shows that it had no role

   in the alleged claims. Liu Declaration ¶¶ 10-12. Thus, UAC cannot identify the necessary

   relationship between the forum, the claims, and BTH. See Fraser, 594 F.3d at 851 (holding that

   there were insufficient ties between the claims and the foreign defendant’s activities in Florida).

   By not tying BTH specifically to any alleged claim or conduct occurring in Florida, UAC fails to

   satisfy its burden for prong one.

          Second, BTH is not alleged to have, and has not, purposefully availed itself of doing

   business—or anything else, for that matter—in Florida. UAC has asserted that, collectively,

   “Defendants have engaged in business in the State of Florida and have purposefully availed

   themselves of the benefits and privileges of conducting business in this jurisdiction.” Compl. ¶ 20.

   But, as discussed above, such conclusory allegations, without more, are insufficient to establish

   personal jurisdiction over BTH. This is especially true when the conclusory allegations contradict

   the facts: BTH is incorporated in the Cayman Islands, is headquartered in China, has never

   transacted business in Florida, and does not have operational control over any entity that transacts

   business in Florida. Liu Declaration ¶¶ 2-5. Thus, UAC fails to satisfy its burden for prong two.

          Third, the United States Supreme Court has held that “[g]reat care and reserve should be

   exercised when extending our notions of personal jurisdiction into the international field.” Asahi

   Metal Indus. Co., Ltd. v . Superior Ct. of Cal., Solano Cty., 480 U.S. 102, 115 (1987) (citation

   omitted). “The unique burdens placed upon one who must defend oneself in a foreign legal system


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   should have significant weight in assessing the reasonableness of stretching the long arm of

   personal jurisdiction over national borders.” Id. at 114. Here, UAC has not alleged any basis to

   support personal jurisdiction over BTH, and BTH’s declaration refutes any notion that BTH has

   any ties to Florida. Exercising personal jurisdiction over BTH and requiring it to defend itself in

   a foreign court would place a substantial burden on BTH, Liu Declaration at ¶ 13, and would

   violate all notions of fair play and substantial justice, depriving BTH of the protections guaranteed

   by the United States Constitution. Fraser, 594 F.3d at 850. Accordingly, prong three favors the

   conclusion that personal jurisdiction does not exist over BTH.

          Finally, the Complaint does not, and cannot, allege personal jurisdiction based on BTH’s

   nationwide contacts with the United States. UAC served BTH pursuant to the Hague Convention,

   and not pursuant to the Clayton Act. As such, UAC may not rely on BTH’s nationwide contacts

   with the United States to establish personal jurisdiction. Gen. Cigar Holdings v. Altadis, S.A., 205

   F. Supp. 2d 1335, 1340 (S.D. Fla. 2002) (holding Clayton Act § 12’s service of process provisions

   do not apply to corporations served outside the United States pursuant to the Hague Convention),

   aff’d, 54 F. App’x 492 (11th Cir. 2002). Instead, UAC must establish that BTH has sufficient

   minimum contacts with Florida to satisfy the Florida long-arm statute and due process under the

   United States Constitution—which it has failed to do. See id. Regardless, even if this Court

   considered BTH’s nationwide contacts, as opposed to its contacts with Florida, this Court still

   could not exercise personal jurisdiction over BTH. BTH has no ties to the United States. Liu

   Declaration ¶¶ 2-9. And UAC has not alleged that BTH specifically had any contacts with the

   United States in connection with the claims asserted. Compl. ¶¶ 52, 53, 59, 61, 65. Nor could it,

   given the facts that BTH does not design or manufacture ASIC miners, operate the Antpool and

   BTC.com mining pools, or control how cryptocurrency mining servers are deployed.                 Liu


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   Declaration ¶¶ 10-12. Accordingly, the Court cannot exercise personal jurisdiction over BTH

   based on nationwide contacts.

                                          CONCLUSION

           The Complaint should be dismissed because UAC has failed to carry its burden of

   establishing either general or specific personal jurisdiction over BTH. Alternatively, the Court

   should dismiss the case for failure to state a claim based on the arguments made in the already

   filed motions to dismiss under Fed. R. Civ. P. 12(b)(6), which BTH joins.




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  Date: October 17, 2019             Respectfully submitted,


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                                     CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that on October 17, 2019, I electronically filed the foregoing with

   the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

   to all counsel of record for the parties.



                                               /s/ Christopher R.J. Pace
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